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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

LAREDO DIVISION
UNITED STATES OF AMERICA, §
§
Plaintiff, §
§
V. § CASE NO. 5:20-CV-039
§ JURY TRIAL DEMANDED

3.572 ACRES OF LAND, MORE OR §
LESS, SITUATED IN WEBB COUNTY, §
STATE OF TEXAS; and GUILLERMO —s §
CALDERA, §

Defendants. §

DEFENDANT GUILLERMO CALDERA’S ORIGINAL ANSWER
AND OBJECTION
Defendant GUILLERMO CALDERA (“Defendants”), hereby files his Original Answer

and Objections and to the United States of America’s Complaint in Condemnation.

RESPONSES TO THE COMPLAINT IN CONDEMNATION

1. Defendant does not have sufficient knowledge to form a belief as to the truth of
allegations in paragraph 1.

2. Defendant admits the allegations in paragraph 2, subject its objections and
defenses stated below.

3. Defendant does not have sufficient knowledge to form a belief as to the truth of

the allegations in paragraph 3, which address Plaintiff's Schedule A (“Authority for the
Taking,”).

4. Defendant does not have sufficient knowledge to form a belief as to the truth of
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the allegations in paragraph 4, which addresses Plaintiff's Schedule B (“Public Purpose, “).

5. Defendant asserts that he owns a full fee simple absolute interest in the
approximately 3.572 acres of land affected by this condemnation suit in equal party with his wife
as community property. In response to Paragraph 5, Defendant admits that the aerial map or plat
of these 3.572 acres of land in Schedule D (“Map or Plat”) and the legal description of this
property in schedule C (“Legal Description, “ 1) appear to be more or less accurate.

6. In response to Paragraph 6, which addresses Plaintiff's Schedule E (“Estate
Taken,”), Defendant again asserts that it owns a full fee simple absolute interest in the
approximately 3.572 acres of land affected by this condemnation suit in equal parts with his wife
as community property. Defendant also admits that the aerial map or plat of this acreage in
Schedule D and its legal description in Schedule C (“Legal Description, “‘) appears to be more or
less accurate.

7. Defendant denies that the sum estimated in paragraph 7, which addresses
Plaintiff's Schedule F (“Estimate of Just Compensation,”), constitutes just compensation for the
temporary one-year assignable easement. Plaintiff has failed to deposit, an amount of money
rationally estimated to constitute just compensation for the access to the land it seeks and for or
the period of time it seeks, in violation of Federal Rule of Civil Procedure 71.1(j)(1), § 1103 (b),
40 U.S.C. § 3114 (a) (5), and the Due Process and takings Clauses of the Fifth Amendment to the
United States Constitution. Defendant asserts that the just compensation required under law is
greater than Plaintiff alleges, and therefore requests, pursuant to Federal Rule Civil Procedure
71. 1 (h)(1)(B), a trial by jury to determine just compensation for the taking and bench trial to
determine any damages that may result from the taking.

8. In response to paragraph 8, which addresses Plaintiff's Schedule G (‘Interested
Parties,”), Defendant asserts that it owns a full fee simple absolute interest in the approximately
3.572 acres of land affected by this condemnation suit in equal parts with his wife as community
property

9. To the extent that paragraph 9 requires an answer, Defendant again asserts that it
owns a full fee simple absolute interest in the 3.572 acres of land affected by this condemnation
suit.

DEFENDANT’S OBJECTIONS AND DEFENSES
10. Pursuant to Rule 71.1(e)(2) of the Federal Rules of Civil Procedure, Defendant
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sets out the following objections and defenses to the Complaint in Condemnation and on the
approximately 3.572 acres of land to which Plaintiff seeks access. Defendant would show the
following:

11. Plaintiff has no constitutional authority to exercise eminent domain in this case.

12. The statutory authorities Plaintiff cites do no authorize taking the property of
Guillermo Caldera and, therefore, the Plaintiff’s taking is ultra vires and this Court must
invalidate that taking pursuant to the Administrative Procedure Act. 5. U.S.C. § 706 (2)
(authorizing reviewing court “to hold unlawful and set aside agency action...in excess of
statutory....authority...”).

13. To the extent that Plaintiff has not cited federal laws that give it authority to take
the above-captioned land, Defendant object.

14. To the extent that Plaintiff has not complied with the federal laws it has cited,
Defendant objects.

15. The Plaintiff has not complied with the requirements of 8 U.S.C. § 1103 (b) as it
has not made a bona fide effort to purchase the subject propertyrights by engaging in good faith
negotiation with Defendant.

16. Defendant reserves its right to receive all notices that may be required, at present
or in the future, before Plaintiff, or its contractors or agents acting on its behalf, enter
Defendant’s lang.

17. Defendant reserves the right to recover attorneys’ fees for this action, as provided
by the Equal Access to Justice Act, 28 U.S.C. § 2412. See also U.S. v. 329.73 Acres of Land, et
al. 704 F.2d 800 (5" Cir. 1983, en bance).

18. Defendant reserves the right to file additional objections and defenses to
Plaintiff's proposed temporary taking if Plaintiff files any additional amendments or if
circumstances otherwise change.

RELIEF REQUESTED

19. For the foregoing reasons, Defendants GUILLERMO CALDERA respectfully
requests that the Court:
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a. Enter an order denying the 12-month, fully assignable temporary easement
sought by Plaintiff, since the scope of the easement exceeds Plaintiff's
authority.

b. Vest in the Defendants title to the property that Defendant unlawfully seeks to
divest by filing its complaint in condemnation.

c. Allow defendant to recover its expenses for attorneys’ fees, under either the
Uniform Relocation Assistance and Real Property Acquisition Policies Act of
1970, 42 U.S.C. § 4656(a)(1) or the Equal Access to Justice Act, 28 U.S.C. §
2412 or both, as applicable.

d. Order the Plaintiff to enter into good faith negotiations for the purchase of the
property rights sought by means of its Complaint in Condemnation based on
fair market value and utilizing commercially reasonable standards, as set at in
42 U.S.C. § 4651.

e. Grant Defendant’s request for trial by jury under Rule 71.1(h)(1)(B) of the
Federal Rules of Civil Procedure on the issue of just and adequate
compensation; and

f. Grant Defendant any other relief the Court deems proper.

Respectfully Submitted,

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By: /s/ Ricardo de Anda
Dated: June 22, 2020 Ricardo de Anda

SBN: 05689500

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CERTIFICATE OF SERVICE
The undersigned counsel hereby certifies that, on the 22"4 day of June 2020, he
electronically submitted a true and correct copy of the foregoing Original Answer with the court

via the CM/ECF system, which serve a copy on all counsel of record.

Hosadee

Ricardo de Anda
